               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )      Criminal No. 3:07-00223-01
v.                                               )      Judge Trauger
                                                 )
REGGIE K. JACKSON                                )

                                        ORDER

       It is hereby ORDERED that the hearing on the Petition to Revoke Supervision (Docket

No. 206) is RESET for hearing on Monday, October 7, 2013, at 11:00 a.m.

       It is so ORDERED.

       ENTER this 20th day of May 2013.



                                                 ________________________________
                                                       ALETA A. TRAUGER
                                                         U.S. District Judge




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